     Case: 1:16-cv-11576 Document #: 74 Filed: 05/07/19 Page 1 of 3 PageID #:472



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

SANDOR DEMKOVICH,                             )
                                              )
                       Plaintiff,             )
                                              )
               v.                             )       No. 16-cv-11576
                                              )       Judge Edmond E. Chang
ST. ANDREW THE APOSTLE PARISH,                )
CALUMET CITY, and THE                         )
ARCHDIOCESE OF CHICAGO,                       )
                                              )
                       Defendants.            )

                     DEFENDANTS' MOTION FOR CLARIFICATION
                       AS TO THE COURT'S MAY 5, 2019 RULING

         Defendants, St. Andrew the Apostle Parish, Calumet City (the "Parish"), and the

Archdiocese of Chicago (the "Archdiocese") (collectively "Defendants"), by and through their

attorneys, for their motion for clarification as to the Court's May 5, 2019 ruling [Dkt. 73] states as

follows:

         1.    On May 5, 2019, this Court granted Defendants' motion for certification pursuant

to 28 U.S.C. 1292(b) ("Section 1292(b)").

         2.    In ending its ruling, the Court ordered the Archdiocese to "promptly file the notice

of appeal based on the certification no later than the close of business on May 8, 2019." [Dkt. 73,

p. 4].

         3.    Pursuant to Section 1292(b) and F.R.A.P. 5, the party seeking to appeal following

entry of a Section 1292 certification has 10 days to petition the Court of Appeals for permission

to bring the appeal. See also In re Cash Currency Exchange, Inc., 762 F.2d 542, 547 (7th Cir.

1985).
    Case: 1:16-cv-11576 Document #: 74 Filed: 05/07/19 Page 2 of 3 PageID #:473



       4.      If permission to appeal is granted, a notice of appeal need not be filed. Fed. R.

App. P. 5(d)(2)P.

       5.      Accordingly, the applicable statutory requirements, which cannot be altered,

mandate that for a Section 1292(b) appeal, no notice of appeal be filed with the District Court,

but rather, a petition must filed with the Court of Appeals, and within 10, not 2, days.

       6.      Based on the foregoing, Defendants seek clarification as to the Court's instruction

requiring Defendants to file a "notice of appeal." Alternatively, Defendants seek modification of

the Court's order to comport with the filing and timing requirements set forth under Section

1292(b) and F.R.A.P. 5.

       WHEREFORE, Defendants, St. Andrew the Apostle Parish, Calumet City and the

Archdiocese of Chicago, respectfully request clarification as to the Court's instruction to

Defendants contained in its May 5, 2019 order regarding the filing a notice of appeal; or,

alternatively, modification of the order so it comports with the filing and timing requirements set

forth under Section 1292(b) and F.R.A.P. 5.

                                              Respectfully submitted,
                                              St. Andrew the Apostle Parish, Calumet City, and
                                              the Archdiocese of Chicago

                                              By:     /s/ Alexander D. Marks
                                                      One of their attorneys

James C. Geoly (jgeoly@burkelaw.com)
Alexander D. Marks (amarks@burkelaw.com)
Burke, Warren, MacKay & Serritella, P.C.
330 North Wabash Avenue, 21st Floor
Chicago, Illinois 60611
Telephone:     (312) 840-7000
Facsimile:     (312) 840-7900




                                                 2
     Case: 1:16-cv-11576 Document #: 74 Filed: 05/07/19 Page 3 of 3 PageID #:474



                                CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that on May 7, 2019, a true and correct copy of

Defendants' Motion for Clarification as to the Court's May 5, 2019 Ruling was filed

electronically using the Court's Electronic Case Filing System. A Notice of Electronic Filing will

be sent by electronic mail to Plaintiff's counsel of record by operation of the Court's Electronic

Filing System.



                                                            By: /s/ Alexander D. Marks



4846-8055-1574




                                                3
